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                 5   Steven Schisler
                 6
                                                UNITED STATES BANKRUPTCY COURT
                 7
                                                 EASTERN DISTRICT OF CALIFORNIA
                 8
                                                           FRESNO DIVISION
                 9
             10
             11       In re:                                               Case No. 22-22056-C-7

             12                                                            Chapter 7
                      DAVID R. MICHAL,
             13
             14                     Debtor.

             15
             16                                    REQUEST FOR SPECIAL NOTICE
             17                PLEASE TAKE NOTICE that Steven Schisler, by and through their attorneys of record,
             18      DESMOND, NOLAN, LIVAICH & CUNNINGHAM, requests, pursuant to Rules 2002 and 9010
             19      of the Federal Rules of Bankruptcy Procedure, that all notices sent in this case and all papers and
             20      pleadings filed in this case be served upon the undersigned as follows:
             21                                         J. Russell Cunningham
                                              DESMOND, NOLAN, LIVAICH & CUNNINGHAM
             22                                             1830 15th Street
                                                        Sacramento, CA 95811
             23                                         rcunningham@dnlc.net
             24
                     Dated: March 18, 2024                DESMOND, NOLAN, LIVAICH & CUNNINGHAM
             25
             26                                           By: /s/ J. RUSSELL CUNNINGHAM
             27                                                  J. RUSSELL CUNNINGHAM
                                                                 Attorneys for Steven Schisler
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